                          Case 1:21-sw-00145-RMM Document 3 Filed 05/27/21 Page 1 of 2

AO 93C (      )                                                                     Original                    Duplicate Original


                                         UNITED STATES DISTRICT COURT
                                                                     for the
                                                              District
                                                        __________     of Columbia
                                                                   District of __________

                  In the Matter of the Search of                        )
             (Briefly describe the property to be searched              )
              or identify the person by name and address)               )      Case No. 21-sw-145
   4227 JENIFER ST., N.W., WASHINGTON, D.C. AND                         )
          ELECTRONIC DEVICES THEREIN                                    )
                                                                        )


To:        Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the                                   District of            Columbia
(identify the person or describe the property to be searched and give its location):


 See Attachment A hereto




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):

 See Attachment B hereto




           YOU ARE COMMANDED to execute this warrant on or before                 June 1, 2021          (not to exceed 14 days)
           in the daytime 6:00 a.m. to 10:00 p.m. at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                      Robin M. Meriweather                   .
                                                                                               (United States Magistrate Judge)

        Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
        for        days (not to exceed 30)     until, the facts justifying, the later specific date of                                     .

                                                                                                                    Robin M. Meriweather
Date and time issued:          .BZ                                                                          2021.05.19 21:18:50 -04'00'


City and state: Washington, District of Columbia                               Robin M. Meriweather, United States Magistrate Judge
                                                                                                     Printed name and title
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AO 93   (    )                                           (Page 2)

                                                               Return
Case No.:                        Date and time warrant executed:                Copy of warrant and inventory left with:
 21-sw-145                           5/20/2021 0612hrs                              May M. Salehi
Inventory made in the presence of :              May M. Salehi

Inventory of the property taken and name     of any person(s) seized:


 IPhone model number A1660
 Sony cyber shot camera model number DSC-Wx9 with a blue Sandisk SD card BH11003160400
 At& T sim card 89014103273080966546
 I Phone 6s black in color serial number FK1 v913whflm
 Macbook Pro with power cord Model Number A 1278 Serial Number C 1 mqjdskdty3
 Motorola micro sd card 2006-10-21 C
 Silver Dell lnspiron Service tag 560y5p2
 iPad pink in color Model No. a2270 Serial No. Dmpfl6mbq1gf
 iPhone white in color Serial No. C7DCG727N72K
 HP Elite Book Serial No. 2TK02009QK
 Notepad letter sized
 manila folder with gray folder inside




                                                           Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:       5/20/2021


                                                                    SA Christopher Swenson, Special Agent , US State Department OIG
                                                                                          Printed name and title
